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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of North             )   Civil Action No. 19-cv-15962-JXN-LDW
   Carolina, and CommScope Technologies,                )
   LLC,                                                 )       (Document Filed Electronically)
                                                        )
                  Plaintiffs,                           )
                                                        )
   v.                                                   )     NOTICE OF APPEARANCE OF
                                                        )             COUNSEL
   Rosenberger Technology (Kunshan) Co. Ltd.,           )
   Rosenberger Asia Pacific Electronic Co., Ltd.,       )
   Rosenberger Technology LLC, Rosenberger              )
   USA Corp., Rosenberger North America                 )
   Pennsauken, Inc., Rosenberger Site Solutions,        )
   LLC, Rosenberger Hochfrequenztechnik                 )
   GmbH & Co. KG, Northwest Instrument,                 )
   Inc., CellMax Technologies AB,                       )
                                                        )
                  Defendants.                           )

         PLEASE TAKE NOTICE that Kevin H. DeMaio, Esq., an attorney at Faegre Drinker

  Biddle & Reath LLP who is admitted to practice in this Court, hereby appears as counsel for

  Plaintiffs CommScope, Inc., CommScope Inc. of North Carolina, and CommScope

  Technologies, LLC in the above-captioned matter, and requests that copies of all papers in this

  action be served upon the undersigned.




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  Dated: June 1, 2023                FAEGRE DRINKER BIDDLE & REATH LLP

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